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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Glen Ellyn Pharmacy, Inc.
                                      Plaintiff,
v.                                                        Case No.: 1:13−cv−08646
                                                          Honorable James B. Zagel
Apotheca Supply, Inc., et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 10, 2014:


        MINUTE entry before the Honorable James B. Zagel: Pursuant to the parties'
Stipulation to Dismiss [16], with respect to Plaintiff's individual claims against Defendant,
the matter is dismissed with prejudice and with each party to bear its own costs and fees.
Plaintiff's class claims are dismissed without prejudice and with each party bearing its
own costs. All pending motions and deadlines are moot. Civil case terminated. Mailed
notice(ep, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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